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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,                     Case No. 3:05 CR 781-12
               -vs-
                                                             MEMORANDUM OPINION
JOHN A. MARTINEZ, et al.,                                        AND ORDER

                              Defendant.
KATZ, J.

       Before the Court is the Report and Recommendation of the Magistrate Judge filed April

11, 2006 in the above-entitled action. Under the relevant statute:

               Within ten (10) days after being served a copy of these proposed Findings and
               Recommendation, any party who wishes to object must file and serve
               written objections or further appeal is waived.

United States v. Campbell, 261 628 (6th Cir. 2001) (citation omitted); see also 28 U.S.C.A. §

636(b)(1). In this case, the ten day period has elapsed and no objections have been filed.

Therefore, the failure to file written objections to the Magistrate Judge’s report and

recommendation constitutes a waiver of a determination by the district court of an issue covered

in the report. Thomas v. Arn, 728 F.2d 813 (6th Cir. 1994), aff’d, 474 U.S. 140 (1985); see also

United States v. Walters, 638 F.2d 947 (6th Cir. 1981).
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       Following review of the Magistrate Judge’s Report and Recommendation, the Court

adopts the Report and Recommendation in its entirety as the Order of the Court. The

Defendant’s motions to suppress (Doc. No. 199) is denied.

       IT IS SO ORDERED.



                                                     S/ David A. Katz
                                                   DAVID A. KATZ
                                                   U. S. DISTRICT JUDGE




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